Case 1:14-cv-00254 ..Document 64-24 Filed on 01/07/15 in TXSD Page 1 of 25
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                                                                  App. 0623
                    Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 2 of 25




                                                                 Module Objectives

    The objective of this section is to provide.a basic
    understanding of:
    • ·The advan·ce parole requirements for individuals whose remova l has
       been deferred under DACA:
    • How to apply these requirements; and
    11
         The advance parole processing and validity. periods.




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                            Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 3 of 25




                                                                                   Advance Parole
                     Parole is the authorization to allow an otherwise inadmissible person 'to
                     physically proceed into the United States under certain safeguards and
....... -·-· .. .-·· co.n.tr.ols ...-.·Parole is not an admission . .. _
          Parole is granted on a case-by-case basis for urgent humanitarian
          reasons or significant public benefit.
          Advance parole is generally granted prior to the individual's departure
          from the .United States to authorize that person's temporary parole
          upon his/her .return to the United States following a brief absence.

          The legal authority·for parole is found in INA 212(d)(5)(A).




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                                                      Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 4 of 25




                                                                                Advance Parole (Continued)


                           In accordance with the discretionary authority provided in INA
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                           be made· based .on the need to travel abroad for educational,
                           employment, or humanitarian purposes.

                            • These categories are to be const~ued broadly, but must qe
                              supported with evidence demonstrating the need to travel.




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                             Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 5 of 25




                                                              Advance Parole - DACA                Recipient~

        A DACA requestor·may not concurrently file Form 1-131 for advance
        parole with his/her DACA request.
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        I-797 notice deferring removal under DACA .




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                   Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 6 of 25




    Advance Parole Requested for Educational Purposes

                   If the DACA recipient is requesting advance parole to travel for
                   educational purposes, the individual must show that the travel w ill
· - ~- ,_.~ :._ .__be...und,e rtaken for educational pursuits. _                 . ..... _

        Examples include:
        • S·emester abroad programs; or
        • Travel -necessary to conduct academic research.




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                    Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 7 of 25




                                   Advance Parole - Expedite Requests

    As a general matter, expedite requests will not be granted.
                                                                                                    -   ~   ".. . --·   ·- ....
    However, in a dire emergency, and if properly documented and
    verified,. if an individual were to appear at a local office, the local
    office has the option of processing the advance parole or working
    through established POCs at the Service Center under normal
    protocols .




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                                             Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 8 of 25




                                                        Impact of Travel Without Advance Parole

                                 Deferred Action is terminated automatically if an individual travels
.... . . -.:··'" ·' ·"' . ~ . .. outside the. ~United States.without.advance parole after removal has
                                 been deferred under DACA.




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                                         Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 9 of 25




                                                             Advance Parole for DACA Recipients in
                                                                             Removal Proceedings

                                      Individuals in removal proceedings, including those with final
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                                      guidelines for advance parole consideration under DACA.



                  A departure made while under a final order of removal .(including a
                  voluntary departure order that converted automatically to a final
                  removal order) renders that individual inadmissible under INA_
                  212(a)(9)(A).




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Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 10 of 25




                                                                App. 0632
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 11 of 25




                                                                App. 0633
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 12 of 25




                                                                App. 0634
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 13 of 25




                                                                App. 0635
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 14 of 25




                                                                App. 0636
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 15 of 25




                                                                App. 0637
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 16 of 25




                                                                App. 0638
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 17 of 25




                                                                App. 0639
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 18 of 25




                                                                App. 0640
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 19 of 25




                                                                App. 0641
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 20 of 25




                                                                App. 0642
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 21 of 25




                                                                App. 0643
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 22 of 25




                                                                App. 0644
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 23 of 25




                                                                App. 0645
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 24 of 25




                                                                App. 0646
Case 1:14-cv-00254 Document 64-24 Filed on 01/07/15 in TXSD Page 25 of 25




                                                                App. 0647
